Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 1 of 68 Page ID #:6




                        EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 05/14/2021 12:11 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                    Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 2 of 68 Page ID #:7
                                                    21STCV18183
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Barbara Meiers



                1     Marc S. Strecker, Esq. – Bar No. 140644
                      STRECKER LAW OFFICES
                2     2600 Michelson Drive, Suite 1700
                      Irvine, CA 92612
                3     Telephone: (949) 852-3600
                      Facsimile: (949) 861-9696
                4
                      Email: marc.strecker@sbcglobal.net
                5

                6     Philip Kaufler– Bar No. 81160
                      Law Offices of Philip Kaufler,
                7     A Professional Corporation
                      8383 Wilshire Blvd., Suite 830
                8     Beverly Hills, California 90211
                      Telephone: (323) 655-0961
                9
                      Facsimile: (323) 655-9655
                      E-mail: philip@kauflerlaw.com
               10

               11     Attorneys for Plaintiff JANICE FOX

               12

               13                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

               14                                               FOR THE COUNTY OF LOS ANGELES
               15
                      JANICE FOX, an individual,                                                  Case No:
               16

               17                                                                                 COMPLAINT FOR:
                                                  Plaintiff,
               18                                                                                 (1) ELDER ABUSE BY ISOLATION
                      v.
               19                                                                                 (2) ELDER ABUSE - FINANCIAL
                      THEODORE FOX, an Individual and as
               20     Trustee of the GERSON FOX AND                                               (3) BREACH OF FIDUCIARY DUTY
                      GERTRUDE FOX FAMILY TRUST and as
               21     Trustee of the BEARBIZ IRREVOCABLE                                          (4) IMPOSITION OF CONSTRUCTIVE
                      TRUST, ULTIMATE ACTION, LLC, a Nevada                                       TRUST
               22
                      limited liability company, SUPREME
                      STUDIOS, a Nevada limited liability                                         (5) UNJUST ENRICHMENT
               23
                      company, TF PROPERTIES #2, a California
                      limited liability company, TF PROPERTIES                                    (6) INVALIDITY OF TRUST AMENDMENT
               24
                      #3, a California limited liability company,                                 – WILL CONTEST
               25     BARRY FOX, an individual, and DOES 1
                      through 50 and ROE Entities 51 through 100,                                 (7) INTENTIONAL INTERFERENCE WITH
               26                                                                                 INHERITANCE RIGHTS
                                                        Defendants.
               27                                                                                 (8) DEMAND FOR AN ACCOUNTING

               28                                                                        1
                                                                                     COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 3 of 68 Page ID #:8


1
                                                         (9) PETITION TO DECLARE SPECIAL
2                                                        TRUSTEE AGREEMENT INVALID

3                                                        (10) PETITION TO DECLARE THE
                                                         IRREVOCABLE BEARBIZ TRUST
4                                                        INVALID
5
                                                         (11) CIVIL RICO
6
                                                         (12) DEMAND FOR AN ACCOUNTING RE
7                                                        GERTRUDE FOX

8                                                        (13) DEMAND FOR AN ACCOUNTING RE
                                                         BEARBIZ, ULTIMATE ACTION, SUPREME
9                                                        STUDIOS, TF PROPERTIES 2 AND TF
                                                         PROPERTIES 3
10
                                                         (14) INTENTIONAL INFLICTION OF
11                                                       EMOTIONAL DISTRESS

12
                                                THE PARTIES
13

14
             A.      Individual Parties

15           1.      Gertrude Fox (“Gertrude”) was born on October 20, 1928 and was 92 years of age

16    when she died on December 25, 2020. Gertrude is the mother of Plaintiff Janice Fox (“Janice”),

17    Defendant Theodore Fox (“Theodore”) and Defendant Barry Fox (“Barry”). It was the death of

18    Gertrude just a few months ago that prompted an investigation into what was just discovered
19
      as the massive financial abuse perpetrated by Theodore and assisted by Barry. At all times
20
      mentioned herein, Gertrude was a resident of the State of California, County of Los Angeles.
21
             2.      Gerson Fox (“Gerson”), age 93, is the father of Janice, Theodore and Barry. At all
22
      relevant times herein Gerson has lived in Los Angeles County. On information and belief,
23
      Gerson is currently residing at a nursing facility in Los Angeles, California.
24
             3.      Janice as daughter of Gertrude is an intestate heir of Gertrude, and on
25

26    information and belief she was also a beneficiary of one-third of the Fox Family Trust through

27    approximately 2012 when Theodore and Barry used undue influence and financial and physical

28                                                  2
                                                COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 4 of 68 Page ID #:9


1     coercion to cause their parents to change their estate plan and remove Janice’s one-third share.

2     Janice will succeed as the sole beneficiary to the estate of Gertrude per Probate Code § 259 if she

3     establishes with clear and convincing evidence that Theodore and Barry have committed
4
      physical abuse (through isolation) and/or financial abuse of Gertrude.
5
             4.      Theodore is the younger brother of Janice and one of the sons of Gertrude and
6
      Gerson. At all times relevant herein, Theodore has lived both in Los Angeles County where he
7
      has a home, and in Las Vegas, Nevada where he has a second home.
8
             5.      At all times relevant herein, Barry has lived in Israel and Janice is informed and
9
      believes that Barry visits Los Angeles from time to time and is still a citizen of the United States.
10

11           B.      Entity and Doe Defendants

12           6.      Janice is informed and believes that Defendant Ultimate Action, LLC (“Ultimate

13    Action”) is a Nevada limited liability company, with Theodore as its manager and its only

14    member and 100% owner.
15
             7.      Janice is informed and believes, and on that basis alleges, that at all times
16
      relevant to this Complaint, Ultimate Action is and has been (a) the alter ego, co-conspirator,
17
      duly authorized agent, servant, employee and/or representative of Theodore; and (b) acting
18
      within course, scope and authority of such conspiracy, agency, service, employment and/or
19
      representation. Additionally, Janice is informed and believes, and on that basis alleges, that
20
      Ultimate Action: (a) was legally responsible for the occurrences alleged herein; and (b)
21

22    proximately caused Janice’s damages.

23           8.      Janice is informed and believes and based thereon alleges that Theodore is the

24    special trustee of the Gerson and Gertrude Fox Family Trust (the “Fox Family Trust”). Janice is

25    informed and believes that the Fox Family Trust was created on or about July 17, 2006 and
26
      amended several times thereafter.
27

28                                                   3
                                                 COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 5 of 68 Page ID #:10


1             9.      Janice is informed and believes and thereon alleges that the Bearbiz Irrevocable

2      Trust (“Bearbiz”) is an irrevocable trust formed under the laws of California and settled by

3      Gerson and his late wife Gertrude on or about April 4, 2011.
4
              10.     Janice is informed and believes and thereon alleges that Theodore is the Trustee
5
       of Bearbiz and that Theodore together with Barry are the beneficiaries of Bearbiz. By virtue of
6
       being a trustee of both the Fox Family Trust and Bearbiz, with virtually unlimited powers
7
       Theodore was a fiduciary of both trusts.
8
              11.     Janice is informed and believes that Defendant Supreme Studios, LLC (“Supreme
9
       Studios”) is a Nevada limited liability company created on May 12, 2010 with Theodore as its
10

11     manager and primary member.

12            12.     Janice is informed and believes, and on that basis alleges, that at all times

13     relevant to this Complaint, Theodore was acting: (a) as the alter-ego, co-conspirator, duly

14     authorized agent, servant, employee and/or representative of Supreme Studios; and (b) within
15
       the course, scope and authority of such conspiracy, agency, service, employment and/or
16
       representation. Additionally, Janice is informed and believes, and on that basis alleges, that
17
       Supreme Studios: (a) was legally responsible for the occurrences alleged herein; and (b)
18
       approximately caused Janice’s damages.
19
              13.     Upon information and belief, at all times relevant hereto, there existed a united
20
       of interest between Supreme Studios such that any individuality and separateness between
21

22     them has ceased to exist and Theodore was a mere alter ego of Supreme Studios.

23            14.     Janice is informed and believes that Defendant TF Properties #2 (“TF Properties

24     2”) is a California limited liability company registered with the Secretary of State on June 7, 2012,

25     with Theodore as its manager and its primary member.
26

27

28                                                    4
                                                  COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 6 of 68 Page ID #:11


1             15.     Janice is informed and believes that Defendant TF Properties #3 LLC (“TF

2      Properties 3”) is a California limited liability company registered with the Secretary of State on

3      March 23, 2015 with Theodore as its manager and its primary member.
4
              16.     Janice is informed and believes, and on that basis alleges, that at all times
5
       relevant to this Complaint, Theodore was acting: (a) as the alter-ego, co-conspirator, duly
6
       authorized agent, servant, employee and/or representative of TF Properties 2 and TF Properties
7
       3; and (b) within the course, scope and authority of such conspiracy, agency, service,
8
       employment and/or representation. Additionally, Janice is informed and believes, and on that
9
       basis alleges, that TF Properties 2 and TF Properties 3: (a) were legally responsible for the
10

11     occurrences alleged herein; and (b) proximately caused Janice’s damages.

12            17.     The true names, capacities, and/or liabilities of Does 1 through 50 (individuals)

13     and Roes 1 through 100 (entities) inclusive, whether individual, corporate, associate or

14     otherwise, are presently unknown to Janice, who therefore sues said persons and entities by
15
       such fictitious names. Janice will seek leave to amend this Complaint to show the true names
16
       and capacities of these Doe and Roe defendants, when they have been ascertained, or according
17
       to proof at trial. Indeed, Janice anticipates that those defendants will be added when their
18
       identities are discovered through discovery and the parties’ investigations progress. Janice is
19
       informed and believes that Theodore and Barry have established a complex corporate and
20
       limited liability structure consisting of several affiliated entities in an attempt to obscure, hide,
21

22     and conceal their business activities and assets. Janice is informed and believes, and on that

23     basis alleges that each of the Defendants (including those sued as Does 1 through 50 and Roes

24     51 through 100) are legally responsible for the acts and omissions herein complained of, as

25     alleged below. Additionally, because of the intertwined and tangled business affairs of the
26
       presently named Defendants and the Doe and Roe Defendants, the Doe and Roe Defendants are
27
       within the “Defendants” as that term is used in this Complaint.
28                                                     5
                                                COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 7 of 68 Page ID #:12


1             18.     Janice is informed and believes, and on that basis alleges, that at all times

2      relevant to this Complaint, each of the Defendants was acting: (a) as the alter-ego, co-

3      conspirator, duly authorized agent, servant, employee and/or representative of the other
4
       defendants; and (b) within the course, scope and authority of such conspiracy, agency, service,
5
       employment and/or representation. Additionally, Janice is informed and believes, and on that
6
       basis alleges, that each of Does 1 through 50, inclusive and Roes 1 through 100: (a) were legally
7
       responsible for the occurrences alleged herein; and (b) proximately caused Janice’s damages.
8
              19.     Upon information and belief, at all times relevant hereto, there existed a unity of
9
       interest between each of the Defendants (including those sued as Does 1 through 50 and Roes 51
10

11     through 100) such that any individuality and separateness between them have ceased to exist

12     and each Defendant was a mere alter ego of each other Defendant.

13                                               NATURE OF ACTION

14            20.     Through a combination of malicious slander, elder abuse isolation, massive
15
       financial elder abuse, irreconcilable conflicts of interests, breach of fiduciary duties, sheer
16
       intimidation and bullying and greed, the defendants, who are a combination of individuals and
17
       wholly owned alter ego entities took advantage of their elderly and ill parents to take and
18
       secrete from them nearly their entire multi-million dollar estate leaving them totally dependent
19
       upon these defendants for their basic needs.
20
              21.     On information and belief, it is alleged that these defendants had at least two
21

22     goals in mind. First, they did not want to wait until their parents died to inherit their share of

23     their estate so they devised a plan to take all of their assets while they were still alive. Those

24     assets consisted of valuable commercial and residential properties worth many millions of

25     dollars and cash in the bank as well as other assets.
26
              22.     Second, they wanted to make certain that through their use of slander, isolation,
27
       intimidation and bullying and by retaining lawyers ostensibly for their parents but who worked
28                                                   6
                                               COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 8 of 68 Page ID #:13


1      at the direction of the defendants that they were able to convince and/or coerce their elderly

2      and vulnerable parents to remove plaintiff as a one-third beneficiary of the estate, leaving for

3      themselves and additional several million dollars of estate assets.
4
              23.     These acts of isolation and financial abuse have been continuous and ongoing
5
       from 2012 to the present. The isolation continues to this day as does the financial abuse. The
6
       defendants still retain all of the property and cash they took from their vulnerable and elderly
7
       parents.
8
              24.     Through one core set of deliberate actions the defendants committed elder abuse,
9
       breach of fiduciary duties, used undue influence to eliminate plaintiff as a beneficiary of their
10

11     parents’ estate plan, and intentionally interfered with inheritance expectancy.

12            25.     This action also involves numerous and deliberate conflicts of interest between

13     one of the defendants, who through undue influence, duress and coercion obtained the status of

14     special trustee, with an unconscionable fee arrangement which currently provides fees of nearly
15
       $2 Million per year, without requirement of any specific work activity. This special trustee
16
       arrangement was devised by Theodore to siphon off the estate for himself so as to deny plaintiff
17
       and other beneficiaries the bulk, if not the entire estate.
18
              26.     As part of the scheme to exercise undue influence on his elderly and ill parents,
19
       Theodore selected new lawyers for them, directed these lawyers, and used those lawyers to
20
       assist him in slandering plaintiff in a despicable manner, out of extreme jealousy and greed.
21

22            27.     To make matters worse, while Theodore was in a fiduciary relationship, he

23     engaged in a massive conflict of interest whereby he had a straw man, another attorney,

24     purchase secured creditors’ claims against the estate and then transfer those claims to him so he

25     could foreclose on those claims wiping out the trustees’ and beneficiaries’ interest in the trust.
26
       In other words, Theodore purchased creditors’ claims against his own parents, and on
27
       information and belief, used his parents’ own money to buy those claims and then foreclose on
28                                                    7
                                                 COMPLAINT
     Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 9 of 68 Page ID #:14


1      those claims taking over millions of dollars worth of property in the process and either holding

2      said claims to this day or in some cases selling them off and keeping the proceeds for himself,

3      while his parents relied upon him for their most basic needs, including depriving them of much
4
       needed healthcare.
5
              28.     These actions of elder abuse by way of isolation and financial elder abuse is
6
       supported by clear and convincing evidence.
7
              29.     These acts of elder abuse trigger a statutory remedy whereby it is deemed that
8
       the two defendant abusers, Theodore and Barry, predeceased the decedent Gertrude and are
9
       disinherited. Probate Code §259.
10

11            30.     Welf. & Inst. Code § 15610.30(b) provides that a person or entity “shall be deemed

12     to have taken, secreted, appropriated, obtained, or retained property for a wrongful use if,

13     among other things, the person or entity… knew or should have known that this conduct is

14     likely to be harmful to the elder or dependent adult.” The case law has interpreted this to be a
15
       conclusive presumption of elder abuse.
16
                                   GENERAL ALLEGATIONS COMMON
17
                                          TO ALL CAUSES OF ACTION
18
              31.     Janice is informed and believes and based thereon alleges that on or about
19
       August 1, 2011 Gerson and Gertrude created a Special Trustee Agreement.
20
              32.     This Special Trustee Agreement was created through undue influence and
21

22     coercion by Theodore for the compensation of Theodore at levels that are far beyond anything

23     that would ever be considered reasonable so as to deliberately strip the Fox estate from Janice

24     and partly from Barry, and to accelerate and advance the entire corpus of the estate directly to

25     Theodore prior to the death of the settlors.

26

27

28                                                   8
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 10 of 68 Page ID #:15


1           33.     When the Special Trustee Agreement was created, Gerson and Gertrude were

2    already in their 80s and deemed to be elders by statute. They were both suffering from physical

3    and mental ailments at the time.
4
            34.     In addition to their elderly status and illness, both Gerson and Gertrude were
5
     under extreme financial stress when Theodore was appointed special trustee.
6
            35.     Theodore capitalized on their vulnerable state and financial issues and used
7
     undue influence to secure for himself a lucrative and startling agreement. Theodore saw the
8
     situation of his parents, took advantage of their desperate circumstances and devised a
9
     compensation package that would eliminate any interest his parents had in their estate and in
10

11   the process also wipe out the assets of the estate from the beneficiaries of the estate.

12          36.     The Special Trustee Agreement recites that the effective date of the agreement is

13   as of August 1, 2011 and shall continue in force for a period of 10 years. Thereafter, it recites that

14   the agreement shall be renewed automatically for successive terms of three years unless either
15
     party gives written notice to the other party at least 90 days prior to the expiration of any term
16
     of such party’s intention not to renew.
17
            37.     The compensation structure to Theodore from the Special Trustee Agreement
18
     began at $75,000 per month as of August 11, 2011 and provides that Theodore’s compensation
19
     will increase every year by an additional $10,000 per month. Based on the formula the monthly
20
     compensation is currently $165,000 per month or $1,980,000 per year. The compensation
21

22   continues to either get paid or accrues for the entire 10 years plus renewals regardless of

23   whether there is any work activity required by the trust.

24          38.     The Special Trustee Agreement further provides that “payments shall be made

25   only to the extent that there is reasonably available cash from the Fox Properties’ operations as a
26
     whole… If cash is not available, such unpaid salary will accrue (without interest) until the Trust
27
     is able to make such payments to Special Trustee. Both the Trustees and that Special Trustee are
28                                                  9
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 11 of 68 Page ID #:16


1    mindful of the possibility that all or part of the compensation of the Special Trustee may not be

2    paid, in whole or part, to the Special Trustee due to the problems with the Fox Properties. The

3    Special Trustee has agreed to accept that risk but the Trustees wanted to be clear the
4
     compensation to be paid to the Special Trustee is to be paid before any distributions are made to
5
     their heirs.” The agreement further provides that the Special Trustee shall be paid as additional
6
     compensation $500,000 for past services provided.
7
            39.     The compensation to Theodore was a device created and structured by Theodore
8
     such that the accumulated compensation over the last 10 years would be used to diminish or in
9
     fact eliminate all assets of the Gerson and Gertrude estate so as to effectively wipe out any
10

11   interest that Janice may have inherited as an heir to the Fox estate.

12          40.     The cumulative total either paid or accumulated for the benefit of Theodore over

13   the last 10 years now stands at approximately $11,780,000.00. This compensation package was

14   the product of undue influence and coercion and is just one part of the massive financial abuse
15
     perpetrated by Theodore against his elderly and ill parents as part of his elder abuse.
16
            41.     Janice is informed and believes that on November 28, 2011, and eighth
17
     amendment to the Fox Family Trust was executed – whereby Theodore was given the unilateral
18
     power to withdraw or borrow money from the Fox Family Trust for any trust purpose. This
19
     amendment was entered into while Theodore was in a fiduciary relationship with the trustees
20
     and beneficiaries. It is presumed to be invalid as the product of undue influence.
21

22          42.     As a fiduciary of the Fox Family Trust and Bearbiz, Theodore was required to act

23   with the utmost honesty and integrity and make full disclosure to the beneficiaries of these

24   trusts of all material facts concerning the existence of these trusts, transactions of the trusts, and

25   of course to not engage in fraudulent or criminal activity with regard to these trusts.
26

27

28                                                 10
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 12 of 68 Page ID #:17


1           43.     Theodore breached his fiduciary duties by actively concealing, to this day, the

2    existence of these trusts or the self-serving and fraudulent transactions he engaged with

3    concerning these trusts.
4
            44.     Theodore further breached his fiduciary duties as to both the Fox Family Trust
5
     and Bearbiz by failing to ever render an accounting to their beneficiaries.
6
            45.      Theodore also breached his fiduciary duties by failing to disclose his conflict of
7
     interest in being a trustee of the two trusts while at the same time he was the largest creditor of
8
     both trusts of their settlors Gerson and Gertrude.
9
            46.     Janice further alleges that Theodore is the alter ego of Bearbiz in that Theodore is
10

11   the sole trustee, and a beneficiary with full rights and unfettered discretion to effectively treat

12   the assets and income of Bearbiz as if it were wholly owned by Theodore, including the right to

13   sell assets, incur liabilities, pay himself compensation and borrow against assets.

14          47.     Janice is further informed and believes and thereon alleges that Bearbiz was
15
     conceived of and created by Theodore as a device to siphon off the estate of Gertrude and
16
     Gerson to Theodore and a small portion, if any remaining, to Barry. Janice is informed and
17
     believes that Gerson received no consideration from Bearbiz in exchange for his transfer of the
18
     Membership Interests to Bearbiz.
19
            48.     In relevant part, Section 5.01(a)(1) of Bearbiz provides Theodore with the
20
     authority to “distribute as much of the trust property to or for the benefit of any beneficiary as
21

22   our Trustee determines… [and] may distribute net income, principal, or both.”

23          49.     Section 5.01(a)(2) of Bearbiz provides Theodore with the authority to “make

24   distributions to or for the benefit of one or more trust beneficiaries to the complete exclusion of

25   the other beneficiaries in equal or unequal amounts…”
26
            50.     Janice is informed and believes that on April 4, 2011, Gerson executed fourteen
27
     (14) separate assignments of membership interests from himself individually and as a trustee of
28                                                11
                                            COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 13 of 68 Page ID #:18


1    the Fox Family Trust, to Bearbiz. Each assignment of membership interest is executed by

2    Gerson and Theodore. On information and belief there was no consideration paid by either

3    Theodore or Barry.
4
            51.     Janice is informed and believes that Ultimate Action was used by Theodore to
5
     buy substantial creditor judgments, charging liens and other liens recorded and/or claimed
6
     against his father Gerson and mother Gertrude in a four step process. These acts were in breach
7
     of his fiduciary duties to both the Fox Family Trust and Bearbiz and to all the beneficiaries of
8
     both trusts.
9
            52.     First, Theodore used an intermediary to purchase the judgments, charging orders
10

11   and liens. Second, Theodore purchased those judgments, charging orders and liens from the

12   intermediary totaling in value in excess of $20 Million, for a fraction of their face value. Third,

13   Theodore, through his wholly owned company, Ultimate Action asserted these same claims,

14   liens, charging orders and assignments of judgments against his parents Gerson and Gertrude
15
     at full value. Fourth, Theodore obtained writs of executions, orders for appearance of judgment
16
     debtor against Gerson and Gertrude and an application for sale of dwelling against Gertrude
17
     and/or against her trust. All the while Theodore was in a fiduciary relationship with Gerson
18
     and Gertrude as he was a trustee and special trustee of the Fox Family Trust and the Bearbiz
19
     Irrevocable Trust as well as being the major beneficiary of these two trusts.
20
            53.     The transactions by which Ultimate Action purchased the creditor claims, first
21

22   through an intermediary and then a purchase by Ultimate Action from the intermediary was

23   concealed by Theodore.

24          54.     Prior to the death of Gertrude and while both Gertrude and Gerson were alive

25   but when they were over 80 years old, Theodore, through undue influence, coercion, isolation,
26
     financial abuse and breach of fiduciary duty took for himself virtually the entire estate of
27
     Gertrude and of Gerson Fox so that they were completely dependent on Theodore for their
28                                                 12
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 14 of 68 Page ID #:19


1    financial support. On information and belief the estate taken by Theodore was worth many

2    millions of dollars.

3           55.        To further conceal the multitude of transactions by which Theodore took from
4
     Gertrude and Gerson virtually their entire assets and income Theodore used straw men and a
5
     multitude of limited liability companies that he owned, controlled and managed. None of the
6
     assets was taken by Theodore in his own name as part of his scheme so that the transactions
7
     and his involvement would remain hidden from Janice and the other beneficiaries of the
8
     various trusts.
9
            56.        At all relevant times Barry worked together with Theodore to commit acts of
10

11   elder abuse by way of isolation and financial abuse as describe throughout this Complaint, and

12   he further assisted Theodore in the acts of intentional interference of Janice’s inheritance rights.

13          57.        On information and belief, it is alleged that Janice was previously bequeathed an

14   inheritance of one-third of the estate of decedent Gertrude through testamentary documents
15
     duly executed by Gertrude. Through the designed campaign against Janice of many and
16
     continuous years of elder abuse by way of carefully orchestrated and malicious isolation of
17
     Gertrude and of Gerson Fox, financial abuse of Gertrude and of Gerson, coercion, duress and
18
     slandered perpetrated by Theodore, by himself an through his wholly owned companies
19
     Ultimate Action, Supreme Studios, TF Properties 2 and TF Properties 3 and through his use of
20
     Bearbiz and the Fox Family Trust, Theodore used undue influence to cause Gertrude and
21

22   Gerson to revise their estate plan to remove the one-third bequest in favor of Janice. To this day,

23   it is still unknown by Janice when and if she was completely removed as an heir to the Gerson

24   and Gertrude estate plan or an heir to their various trusts. On information and belief, at the

25   time of her death, Gertrude personally owned real estate located at 337 S. Roxbury Dr., Beverly
26
     Hills, California 90212 and through Shops at Shenandoah Shopping Center, LLC, a limited
27

28                                                  13
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 15 of 68 Page ID #:20


1    liability company, owned real estate located at 15300 E Smoky Hill Rd, Aurora, Colorado 80015,

2    in addition to other real and personal property and assets.

3           58.     Janice, through counsel has made inquiries attempting to obtain the estate plan
4
     from Theodore, through his lawyers, but the requests have been denied.
5
            59.     In addition to the foregoing, through the use of a deliberate and complex scheme
6
     of financial and physical elder abuse, utilizing a myriad of companies and using his position of
7
     trustee and special trustee, Theodore stripped the multi-million dollar estate of Gertrude and
8
     Gerson taking their assets and money for himself, leaving his parents with minimal assets and
9
     income and substantially unable to meet their basic needs, including proper health care without
10

11   having to resort to full reliance on Theodore for their subsistence.

12          60.     Theodore deliberately put his parents into desperate circumstances so that he

13   could control them so that they would be forced to distance themselves from Janice and their

14   grandchildren, that they loved and spent so much time with for so many years.
15
            61.     With complete control of the assets and income, previously owned and enjoyed
16
     by Gerson and Gertrude their living conditions became desperate. They were deliberately
17
     isolated by Theodore from Janice, her children Kele Kirshchenbaum (“Kele”), Alexander Masket
18
     (“Alexander”) and Adam Kaufler (“Adam”), Gertrude’s brother, Rabbi Samuel Fox and their
19
     friends. At the same time they were denied basic healthcare and other necessities. In their
20
     twilight years as elders in their 80s and 90s they were completely controlled by and dependent
21

22   on Theodore.

23          62.     The relationships between Gertrude and Gerson and Janice were close for their

24   entire lives, until Theodore deliberately and maliciously devised and executed his plan of

25   intimidation, isolation and control.
26
            63.     Prior to Theodore’s intimidation and bullying, Gertrude and Gerson did many
27
     things together with Janice; they spoke daily, did charity work together; they spent time at each
28                                                   14
                                              COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 16 of 68 Page ID #:21


1    others’ homes; had many dinners and lunches at Janice’s home; Janice preparing food for

2    Gertrude and Gerson to take home virtually every week; spent many Sabbaths together at

3    Janice’s home; spent many Jewish holidays together, with Gertrude and sometimes Gerson
4
     sleeping over many nights during the year; traveled together; went to restaurants together;
5
     went to movies together; went to professional sporting events together; Gertrude and
6
     sometimes Gerson went to Kele, Alex and Adam’s elementary, middle school and high school
7
     team sports games and cheering them on; going to synagogues together; Gertrude coming to
8
     Janice’s house, nearly every Wednesday to learn Jewish law and Bible together with Janice’s
9
     friends; went to lunch together with Janice’s friends; celebrated life cycle events together,
10

11   including a weekend bar mitzvah of Adam; birthdays together; Chanukah together; Rosh

12   Hashanah together, Sukkoth together; charity banquets together; Passover weeks, usually

13   outside of the United States and many other times together. When Janice started having

14   children Gertrude and Gerson spent a lot of time together with Janice and their grandchildren
15
     doing many of the things described above together with Janice, her husband and their
16
     grandchildren.
17
            64.     Theodore’s actions were deliberately planned, in part to force his parents to give
18
     up on a relationship with Janice and their own grandchildren and they were also planned to
19
     enrich Theodore and his ill-gotten acquisition of the bulk of the Fox family multi-million dollar
20
     estate and conceal same from Janice and the grandchildren.
21

22          65.     This conduct as described hereinabove related to elder isolation and financial

23   abuse has been continuous for the past several years. The financial elder abuse and isolation

24   elder abuse has continued to the present and is ongoing.

25          66.     Janice did not discover the financial abuse and this complex scheme until after
26
     the death of her mother Gertrude on December 25, 2020. Much of Theodore and Barry’s overall
27
     and specific plan is still unknown to Janice.
28                                                15
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 17 of 68 Page ID #:22


1            67.     Janice is still unaware of what has become of the assets and income taken by

2    Theodore and Barry, even though they are both fiduciaries with obligations of full disclosure.

3    There has been no disclosure to Janice by either of them of any of the conduct as alleged in this
4
     Complaint and there has been no disclosure of the other activity that remains actively concealed
5
     by Theodore and Barry.
6
                                            FIRST CAUSE OF ACTION
7
                                         (ELDER ABUSE BY ISOLATION)
8
                                       [Janice Against Theodore and Barry]
9
                                     (Welfare and Institutions Code § 15610.43)
10
             68.     Janice incorporates by reference paragraphs 1 through 67 and realleges same as if
11

12   fully set forth herein.

13           69.     Janice has standing to bring this claim for both physical and financial elder abuse

14   pursuant to Section 15657.3(d) of the Welfare and Institutions Code which provides, in pertinent

15   part, that an intestate heir whose interest is affected by the elder abuse action may commence or
16
     maintain the action, as may an “interested person” under Probate Code § 48. That section defines
17
     “interested person” as an heir, devisee, child, spouse, creditor, beneficiary or any other person
18
     having a property right in or claim against the estate that may be affected by the proceeding.
19
     Alternatively, standing is based upon the authority set out in Estate of Lowrie (2004) 118 Cal.App.
20
     4th 712, 717 to the effect if the abuser is the only one with standing then anyone who has an
21
     interest in the estate has standing to bring the action in place of the abuser.
22

23           70.     Beginning in or about October 2012 and continuing to the present, Theodore,

24   with the complicity and assistance of Barry, began a campaign to isolate Gerson and Gertrude

25   from Janice and coerced and intimidated Gerson and Gertrude to cut off ties with Janice and

26   their three grandchildren, Kele, Alexander and Adam.
27

28                                                 16
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 18 of 68 Page ID #:23


1            71.    The isolation was only one part of Theodore’s scheme to wrest control of the Fox

2    estate from his sister, Janice. He also engaged in a campaign of malicious slander against Janice.

3            72.    On information and belief the coercion and intimidation consisted of economic
4
     threats and physical threats. Theodore and Barry used various deliberate tactics to isolate
5
     Gerson and Gertrude from the rest of their family. It was a fully planned scheme to isolate
6
     Gerson and Gertrude from Janice and their own grandchildren, for the purpose of monetary
7
     gain.
8
             73.    Theodore wanted and he believed he needed Janice and her adult children to be
9
     kept away from Gerson and Gertrude so that he could perpetrate his massive and intricate
10

11   financial abuse without anyone discovering his scheme against his own parents, solely for his

12   own benefit.

13           74.    At the time this plan to isolate Gerson and Gertrude from their daughter and

14   grandchildren were initiated, Gerson and Gertrude were in their 80s. On information and belief
15
     it is alleged that Gerson had been in and out of hospitals and rehabilitation nursing facilities for
16
     several years with heart issues and a series of transient ischemic attacks (“TIAs”) also known as
17
     mini-strokes. That together with diabetes and other illnesses has kept Gerson bedridden for
18
     most of the past 8 to 10 years.
19
             75.    On information and belief, it is alleged that Gertrude had also been in poor
20
     physical and mental health for the past many years, including suffering early stage dementia
21

22   within the years leading up to her death.

23           76.    On information and belief, by the time they were in their 80s Gerson and

24   Gertrude had worked hard for the previous 60 years accumulating commercial and other

25   properties and cash valued in the many millions of dollars.
26
             77.    By the time they were in their 80s both Gerson and Gertrude slowed down, had
27
     serious illness and were vulnerable to undue influence. At the same time, while they were in
28                                                  17
                                              COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 19 of 68 Page ID #:24


1    their eighties, Gerson and Gertrude were experiencing severe financial stress. Their real estate

2    and cash fortune was compromised by a series of lawsuits and claims, some of which was

3    caused by Theodore.
4
            78.     Seeing an opportunity for himself and with assistance from Barry, Theodore
5
     embarked on a scheme to take advantage of the age, poor health and financial stress of his
6
     parents and developed a comprehensive plan to divest Gerson and Gertrude from their assets
7
     and into the hands of mostly, if not entirely to Theodore and some to Barry.
8
            79.     Theodore sought out new attorneys for his parents so that he could control his
9
     parents’ new lawyer to assist Theodore in his complex plan to take complete control of all of his
10

11   parents’ assets for himself and to Barry.

12          80.     On information and belief, Theodore did secure counsel for his parents, but this

13   new counsel, Gary Gitlin was actually in complicity with Theodore and acting on his behalf to

14   achieve his main prize, which was to remove Janice and her children from their parents’ estate
15
     plan. On information and belief it is alleged that Gerson never met or even spoke to Gitlin, but
16
     he purportedly represented Gerson and Gertrude at the direction of Theodore.
17
            81.     The first step, devised by Theodore was to create complete isolation between
18
     Gerson and Gertrude from their daughter Janice and their adult grandchildren Kele, Alexander
19
     and Adam. At the time this plan was first conceived, Janice and her children had a very good
20
     relationship with Gerson and Gertrude.
21

22          82.     Theodore then instructed, and on information and belief used the letterhead of

23   Gitlin to write a series of nasty and slanderous letters about Janice. The reason the letters

24   appear to have been written by Theodore or dictated by him or heavily revised by him is that

25   the contents of the letters are so slanderous and vile that it is unlikely that these letters were
26
     actually authored by any lawyer. These letters made up, out of the whole cloth were riddled
27

28                                                  18
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 20 of 68 Page ID #:25


1    with ridiculous and easily disprovable lies and outright fiction that almost certainly were the

2    brainchild of Theodore.

3           83.     In a letter dated October 23, 2012, a true and correct copy of which is attached as
4
     Exhibit “A” hereto and made a part hereof. Gitlin stated that “I am special counsel for Gerson
5
     and Gertrude in connection with the Kamen litigation and related cases.” He then admitted
6
     that “I was initially brought into the equation through Ted [Theodore] as a means by which to
7
     assist in coordinating a transition from the Buchalter Nemer law firm (“BN”) to replacement
8
     counsel due to the less than stellar BN representation and the difficulties facing your parents, in
9
     particular Gerson, in light of BN’s ineffective services.”
10

11          84.     The Gitlin letter of October 23, 2012 goes further in making it clear that Theodore

12   was directly involved in guiding the legal activity of Gitlin, wherein his letter states “[a]s part of

13   my assisting in the transition, it became clear that your parents, and again Gerson in particular,

14   required someone to oversee and in effect quarterback the enormity and volume of litigation as
15
     most clearly attorney Richard Ormond at the BN firm failed miserably in such task. As time
16
     proceeded, I became a bit more involved than anticipated and continue to assist Gerson and
17
     Gertrude and Gertrude through and in particular Ted, on the various pieces of litigation both in
18
     the bankruptcy arena as well as the civil litigation forum.”
19
            85.     This letter supports the claim that Gerson and Gertrude were vulnerable wherein
20
     it states that “Gerson, in particular, required someone to oversee and in effect quarterback the
21

22   enormity and volume of litigation…”

23          86.     This direction by Theodore of Gitlin breaks the attorney client privilege as

24   between Theodore and Gitlin since Gitlin’s ostensible clients were Gerson and Gertrude.

25          87.     The Gitlin letter is an admission that Theodore selected new counsel for his
26
     parents after they had been represented for many years by their own counsel, the Buchalter
27
     Nemer law firm. This selection of new counsel leads to a presumption of undue influence on
28                                                19
                                            COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 21 of 68 Page ID #:26


1    the part of Theodore against his vulnerable parents who at that time were not only elderly and

2    infirm but also suffering from financial stress. What follows was an orchestrated plan by

3    Theodore to use his imagination to create a totally fictional and slanderous picture of his sister,
4
     using Gitlin to accomplish his overall plan to take Janice out of the Fox estate.
5
            88.     Theodore knew that his parents loved Janice and were proud of her and her
6
     family, and therefore, he needed to paint a totally false and slanderous picture of Janice.
7
     Having wrested control of Gerson and Gertrude’s lawyers, Buchalter Nemer and replace them
8
     with his handpicked and controllable new lawyer, Gitlin, Theodore was able to have Gitlin
9
     write whatever Theodore wanted to accomplish his overall goal of having his parents remove
10

11   Janice, once and for all, from their estate plan. Out of the whole cloth, Theodore either crafted

12   by himself or dictated to Gitlin his smear campaign against Janice.

13          89.     Theodore used Gitlin to support his scheme to isolate Janice from her parents.

14   Theodore crafted out of whole cloth a series of shameful lies about his sister and conveyed these
15
     lies to his vulnerable parents. Theodore falsely claimed that Janice was a drug user and
16
     alcoholic. He also falsely claimed that Janice physically beat her own children. These were
17
     outrageous and malicious lies concocted by Theodore to further his disgusting scheme of
18
     attempting to isolate his parents from Janice.
19
            90.     These outright lies are provably false. There is not a single person who would
20
     confirm any of the nonsense perpetrated by Theodore, whose depravity knows no bounds.
21

22   There are countless family members and close friends who can unequivocally blow this up in

23   Theodore’s face.

24          91.     The slander campaign could only have worked because Gerson and Gertrude

25   were elderly and infirm and even though they had a lot of assets they were under short term
26
     financial stress and dependent on Theodore, who they were falsely led to believe was the only
27

28                                                20
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 22 of 68 Page ID #:27


1    one who could help them. But more than that Gerson and Gertrude were totally dependent on

2    Theodore because he had already begun to take over all their assets.

3            92.    Theodore’s motivation was several fold. He was jealous of his sister because she
4
     has a nice family, lots of close friends, and respect in the community. Theodore, on the other
5
     hand, is a loner with almost no friends and no standing in the community.
6
             93.    Theodore also had failed in different business ventures.
7
             94.    Theodore saw an opportunity for a successful venture, and that was to take
8
     control of his parents’ multi-million dollar estate. As an added bonus he thought at the same
9
     time he could try to destroy the relationship Janice had enjoyed with her parents for her entire
10

11   life.

12           95.    Before excerpts of letters from Gitlin are set out in these allegations the timeline

13   is important. The first letter which sets the stage for demanding complete separation of Janice

14   from her parents is dated November 9, 2012. In the middle of September 2012, just two months
15
     earlier, Gertrude and Janice’s older brother Barry were at Janice’s house for Rosh Hashanah
16
     dinner. They both slept at Janice’s house for two nights with affection and harmony.
17
             96.    Here is what Gitlin wrote to Janice on November 9, 2012, which on information
18
     and belief was without any contact or direction from Gerson or Gertrude:
19
                    “You (and this includes Philip) are hereby placed on notice that you are to have
20
             no further contact, directly or indirectly, with Gerson or Gertrude. That means that you
21

22           are not to contact your parents by telephone, cell phone, email, letter, nor are you

23           invited to visit their home until you receive further instruction from me or one of their

24           other authorized legal representatives.”

25   A true and correct copy of the November 9, 2012 letter is attached hereto as Exhibit “B” and
26
     made a part hereof.
27

28                                                21
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 23 of 68 Page ID #:28


1            97.     In a third letter from Gitlin, dated November 21, 2012, a true and correct copy of

2    which is attached hereto as Exhibit “C”, Gitlin makes further threats to accomplish the goal of

3    isolation. On information and belief this letter was also directed by Theodore. The November
4
     21, 2012 letter states in pertinent part:
5
                     “I have been provided a copy of your two-page November 15, 2012 letter
6
             delivered to Gerson on Friday, November 16, 2012 (delivered by your son Alex). I have
7
             also been made aware that you have approached and spoken with Gerson on Monday,
8
             November 19, 2012. You have perpetrated both communications with
9
             acknowledgement of my October 23, 2012 and November 9, 2012 letters counter-signed
10

11           by Gerson and Gertrude.

12                   Notwithstanding the clarity, instruction, and specifics of both of my letters to

13           you, you have sought to disregard the content and import of the letters and have instead

14           deliberately communicated with Gerson (interestingly you have effected both avenues
15
             when your mother was not present) as part of your November 15, 2012 communication
16
             permeate misrepresentations, further acts of disloyalty, and otherwise questioning the
17
             veracity and authority of my communication and representation.
18
                     As apparently you require something a bit more assertive and poignant in the
19
             form of a Court Order, be advised that I have been instructed to proceed in the obtaining
20
             of a restraining order against you and Philip (and if need be your children if they intend
21

22           to continue to serve as messengers and agents for your communications) and will take

23           such actions as necessary to reaffirm, maintain integrity, and enforce the sanctity of my

24           Clients’ demand and that they be left alone and not contacted by you.

25                   As everyone has acknowledged, the jig is up relative to your true ambitions and
26
             intentions. Your parents want nothing to do with it and would much prefer for you to
27

28                                                  22
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 24 of 68 Page ID #:29


1        simply honor their wishes and at this juncture demands, without incident, complication,

2        or interference.

3                Your parents have asked that I provide one last opportunity for you to listen,
4
         understand and comply with their instructions and not to contact them… They cannot
5
         be any clearer. At this point in time you need only to forward to me your
6
         communication via email (that would be fine) confirming the acknowledgment of
7
         Gerson and Gertrude’s instructions and that you agree that you will not contact them
8
         until you have been advised further-in writing and countersigned by their legal counsel-
9
         that some form of communication and relationship may be permitted to resume.
10

11               You are provided until end of Monday, November 26, 2012 to advise me in

12       writing of your acknowledgment, understanding and compliance. Failure to do so will

13       result in our proceeding with obtaining the requisite restraining order and taking such

14       further legal action as may be necessary.”
15
         And in yet another letter dated November 28, 2012, Gitlin states:
16
                 “I will again restate position of my clients… They wish to be left alone and they
17
         wish to not have any future communications or contact from Janice, Philip, or as
18
         indicated in my November 21 letter, their grandchildren (Janice’s children-at least to the
19
         extent of those whom she continues to have communication as I understand that there is
20
         even estrangement within the internal workings of her own family-to the extent that
21

22       such individuals are being served as the proverbial pawns and are messengers or agents

23       on behalf of Janice (or Philip)).

24               Gerson and Gertrude have every right and privilege to have no communication

25       with any of their children and in this instance is focused on their daughter Janice and
26
         her lawyer husband Philip.”
27

28                                              23
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 25 of 68 Page ID #:30


1           The overtop posturing by Gitlin, at the direction of Theodore, comes into clear focus as

2    predicate facts for Theodore’s real intentions, which not surprisingly were actually reduced to

3    writing. In Gitlin’s letter of September 18, 2015 Gitlin says the following, which is quite
4
     remarkable because it unabashedly states Theodore’s game plan:
5
                    “… at Gerson and Gertrude’s request per this letter, they ask that you provide for
6
            the benefit of Ted [Theodor] as well as Gerson and Gertrude’s legal team a full and
7
            general waiver and release of any and all claims you have or may have in connection
8
            with your parents’ estate, assets, Kamen litigation, and disposition of your parents’
9
            assets.”
10

11          98.     One example of the totally false and defamatory statements Theodore directed

12   Gitlin to write in his letters is that Janice had been “conducting herself through the display of

13   childlike tantrums, exhibiting irrational fits of rage and incoherence by reason of a history of

14   apparent/obvious substance abuse.” This is unequivocally false and defamatory.
15
            99.     Theodore wanted to make certain that his parents were not violating his directive
16
     that they were not to allow anyone into their house, particularly Janice, Kele, Alexander and
17
     Adam so Theodore installed a comprehensive surveillance system with a live video feed to
18
     anywhere in the world that Theodore might be. In this way he could monitor his parents to see
19
     if they were adhering to his demands that their daughter and grandchildren not be allowed into
20
     the house. To further isolate his bedridden parents, Theodore, with Barry’s complicity placed
21

22   additional locks on the outer gates of the house.

23          100.    On information and belief if Gertrude and Gerson violated Theodore’s demands

24   and allowed Janice and her children into the house he would reprimand and intimidate them.

25   Theodore was a bully to his parents and kept them in constant fear. The fear was compounded
26
     by the fact that this time Theodore had virtually all of their assets and income and his parents
27
     were elderly, physically and mentally impaired, and completely dependent on their bully son.
28                                                 24
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 26 of 68 Page ID #:31


1           101.    Theodore also monitored Gerson and Gertrude’s telephone calls. He instructed

2    them that it was not permissible for them to be in contact with Janice and their grandchildren.

3    Again, if they violated these commands, Theodore would reprimand and intimidate them, and
4
     on information and belief withhold money from them. Over the last three years, Theodore took
5
     the mobile phones away from Gertrude and Gerson. On numerous occasions, Theodore
6
     answered calls made directly to Gerson and/or Gertrude instructing the caller that they are not
7
     available to speak or on other occasions Theodore, in his presence would allow his parents to
8
     speak for less than a minute as if they were prisoners in a prisoner system with rules and
9
     regulations that must be adhered to or they would be punished.
10

11          102.    The matter escalated for Theodore when he learned in or about November of

12   2018 that his uncle and aunt, Rabbi Samuel Fox and Miriam Fox announced that they were

13   flying in for the wedding of their nephew, Alexander (son of Janice) and Sarah. Rabbi Fox is the

14   brother of Gertrude. They were very close and spoke almost daily. Since they dared to come to
15
     their nephew’s wedding, Theodore and Barry both put their aunt and uncle on the list of people
16
     that could no longer have any contact with Gerson and Gertrude. This was a further escalation
17
     of Theodore’s terror campaign of isolation.
18
            103.    Likewise, when Barry learned that Rabbi Samuel Fox and Miriam Fox had
19
     decided to attend Alex’s wedding, he cut off ties with both of them and their children. Both
20
     Theodore and Barry worked together to deliberately and maliciously attempt to cut off Janice
21

22   and her children from the rest of the family. This was done so that Theodore and Barry could

23   maintain complete isolation and control of their parents from Janice so that there could be no

24   opportunity for reconciliation and a change of heart when it came to taking for themselves the

25   entire multi-million dollar estate.
26
            104.    This complete isolation and intimidation added to the extreme pain and
27
     suffering of Gertrude and Gerson.
28                                               25
                                              COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 27 of 68 Page ID #:32


1           105.    On December 25, 2020 Gertrude passed away from Covid, after Theodore had

2    placed both of his parents in a nursing facility. Neither had Covid when they entered the

3    facility, but both contracted Covid while patients of the facility.
4
            106.    Theodore concealed from Janice, Kele, Alexander and Adam the fact of their
5
     mother/grandmother’s hospitalization. Theodore further concealed Gertrude’s death, the same
6
     day she was hospitalized.
7
            107.    Through their own investigation, Janice, Kele, Alexander and Adam learned of
8
     the death and made inquiries of funeral arrangements. They knew that Gertrude had a plot for
9
     burial at Home of Peace in East Los Angeles.
10

11          108.    Janice and others contacted Home of Peace to inquire about whether funeral

12   arrangements had been made, but they were instructed that Theodore forbade disclosure of the

13   funeral arrangements. Ultimately, through further investigation, which included contacting the

14   Chaplain of Cedars Sinai Hospital, the Jewish organizations that handle burial in accordance to
15
     Jewish law it was discovered that the funeral would most likely occur on Sunday, December 27,
16
     2020. The time of burial was still unknown. The director of Home of Peace was then contacted
17
     by family members, community rabbis and friends to inquire as to the date and time of the
18
     funeral. Ultimately, Home of Peace informed them that the burial would be at 2:00 pm on
19
     Sunday, December 27, 2020, or sooner.
20
            109.    Janice and her family members arrived to Home of Peace early on Sunday
21

22   morning at around 11:00 am just in case Theodore was up to his usual deception even with

23   regard to the sacred duty under Jewish law of participating in the burial of a

24   mother/grandmother. Sure enough, at approximately 12:40 pm a Rabbi showed up for the

25   burial. The Rabbi informed Janice and other family members that he had serious doubts that
26
     the funeral would take place because Theodore was very upset that family members had
27
     learned of the funeral arrangements. The Rabbi told the family that Theodore would not go
28                                                26
                                            COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 28 of 68 Page ID #:33


1    forward with the burial unless the family left. The Rabbi told some of those assembled that

2    Theodore was prepared and threatened to have the body of his mother taken back to the

3    morgue and buried at a different time of his choosing without disclosure to the rest of the
4
     family.
5
               110.   Ultimately, after a lot of back and forth, a compromise was agreed to whereby
6
     Janice and all of Janice’s family and her many friends that came to pay their respects agreed to
7
     leave and be out of sight while Theodore had his own private burial. Theodore’s only two
8
     guests were his lawyers. The agreement was that after Theodore completed his burial service,
9
     which included lowering his mother’s body into the grave and shoveling dirt on the casket, that
10

11   Janice and her family could conduct their own service. Unfortunately, Theodore’s threats and

12   bullying paid off for him even in the solemn occasion of his mother’s death.

13             111.   As recently as while this lawsuit was being prepared Janice, through her counsel

14   received a letter dated January 19, 2021 from a lawyer from the rehab center where Gerson is a
15
     resident advising Janice that “Mr. Fox’s [Gerson] legal decision maker [Theodore] has requested
16
     a restriction on who can obtain his confidential information and who can act with him.”
17
     Literally, the isolation continues to occur to this day, and has actually escalated in recent
18
     months.
19
               112.   Janice, was unaware until after the death of her mother on December 25, 2020
20
     that the entire isolation plan was devised and implemented so that Theodore and Barry could
21

22   take, secrete and own for themselves the entire multi-million dollar estate while their parents

23   were still alive.

24             113.   Theodore and Barry, by their alleged acts, including without limitation, the

25   isolation of both Gerson and Gertrude by controlling and negating their ability to speak to their
26
     daughter, Janice; their grandchildren, Kele, Alexander and Adam; Gertrude’s brother, Rabbi
27
     Samuel Fox and sister-in-law Miriam Fox and other family members whether in person or by
28                                                27
                                            COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 29 of 68 Page ID #:34


1    telephone, have greatly injured Janice both physically and emotionally by an amount in excess

2    of $1,000,000.00, exclusive of costs and interest to be determined at trial.

3            114.    Pursuant to Probate Code § 259 both Theodore and Barry should be considered by
4
     operation of law to have predeceased Gertrude and Gerson and therefore should not (1) receive
5
     any property, damages, or costs that are awarded to Gertrude’s estate in this action, whether
6
     their entitlement is under a will, a trust, or the laws of intestacy; or (2) serve as a fiduciary as
7
     defined in Section 39, if the instrument nominating or appointing Theodore or Barry was
8
     executed during the period when Gertrude was substantially unable to manage her financial
9
     resources to resist fraud or undue influence.
10

11           115.    The acts by Theodore and Barry of physical neglect and isolation as described

12   above were done with recklessness, oppression, fraud or malice entitling Janice to punitive or

13   exemplary damages to punish and set an example of Theodore and Barry.

14           116.    Janice is entitled to an award of reasonable attorney’s fees pursuant to Welfare
15
     and Institutions Code § 15657.
16
                                       SECOND CAUSE OF ACTION
17
                                        (FINANCIAL ELDER ABUSE)
18
                                        [Janice v. Theodore and Barry]
19
                            Welfare and Institutions Code §§ 15610.30 and 15657.5
20
             117.    Janice incorporates by reference paragraphs 1 through 116 and realleges same as
21
     if fully set forth herein.
22

23           118.    At all times relevant herein Gerson and Gertrude were elders as that term is

24   defined in Welfare and Institutions Code § 15610.27 as they were in their 80s and then in their 90s

25   while Theodore and Barry continuously, deliberately and maliciously isolated them from their

26   daughter, grandchildren, brother and other extended family members and friends.
27

28                                                  28
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 30 of 68 Page ID #:35


1           119.    As “elders” within the class protected by Welfare and Institutions Code § 15600 et

2    seq., Gerson and Gertrude are entitled to heightened and special statutory protections against

3    financial abuse.
4
            120.    Notwithstanding their knowledge that Gerson and Gertrude were elders,
5
     Theodore and Barry actually took advantage of their elderly status, poor health, and financial
6
     stress to commit financial elder abuse by using manipulation, undue influence, breach of
7
     fiduciary duty, fraud, misrepresentations, intimidation, coercion and trickery as more fully set
8
     out in the next two paragraphs.
9
            121.    Gerson and Gertrude were also in their 80s and 90s when Theodore and Barry set
10

11   up a complex set of limited liability companies, wholly owned and controlled by Theodore to

12   act as shields from their individual conduct as they used these companies to take, secrete,

13   appropriate, obtain and retain to this day virtually all of the assets of their elderly and

14   vulnerable parents.
15
            122.    In furtherance of their continuous acts of financial elder abuse, Theodore has
16
     himself installed as trustee of Bearbiz and Special Trustee of the Fox Family Trust where he was
17
     able to completely control all of the assets once owned by Gertrude and Gerson.
18
            123.    At all relevant times when Theodore was both a trustee and beneficiary of the
19
     Fox trusts he completely and deliberately ignored and disregarded his fiduciary duties to the
20
     trustors, his parents and to the beneficiaries, including Janice, by among other things, not
21

22   making disclosure regarding the assets, liabilities and income of the trust properties, not

23   rendering an accounting, concealing from the beneficiaries Theodore’s incredibly inflated

24   compensation package as special trustee of the Fox Family Trust, which was actually a

25   subterfuge for an attempt to wipe out all equity of the Fox estate. Theodore further did not
26
     disclose his conflict of interest in being trustee of the Fox Family Trust and Bearbiz, while at the
27

28                                                 29
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 31 of 68 Page ID #:36


1    same time he acquired and attempted to levy on millions of dollars to claims against the assets

2    of both trusts and as against Gerson and Gertrude, individually.

3           124.    Integral to Theodore and Barry’s plan of financial abuse was keeping all of their
4
     acts in secrecy so that Janice would be unable to discover their intentional scheme to raid and
5
     take for themselves the assets and income of Gertrude and Gerson.
6
            125.    Their designed plan of secrecy worked, at least until the aftermath of the funeral
7
     of Gertrude where Theodore’s extreme conduct to deny his sister and the grandchildren the
8
     solemn participation in the passing of a loved one prompted a full scale investigation into the
9
     potential financial improprieties of Theodore and Barry.
10

11          126.    In or about January 2021 it was discovered that Theodore used the Fox Family

12   Trust and Bearbiz as mere instrumentalities for his carefully designed and orchestrated plan to

13   take for himself the bulk of Gertrude and Gerson’s personal assets and income and to obtain

14   Barry’s agreement to keep all of this secret from Janice and the grandchildren he left some
15
     minimal assets for Barry.
16
            127.    It was also discovered that Theodore went even further with his malicious
17
     scheme to take control and ownership of all of his parents’ assets when he used his company,
18
     Ultimate Action to acquire all of those assets by using a strawman buyer to purchase judgments,
19
     charging liens and other claims against his parents from third party creditors.
20
            128.    Theodore then utilized step two of his plan of financial abuse when he
21

22   commenced actions to foreclose on assets of his parents using judgments, charging liens and

23   other claims to take substantially all of their assets for himself.

24          129.    To this day, Janice is in the dark as to where the money came from and used by

25   Theodore, through his company Ultimate Action to purchase approximately $20 Million in
26
     creditors’ claims against Gerson and Gertrude.
27

28                                                 30
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 32 of 68 Page ID #:37


1           130.    On information and belief, it is most probable that Theodore used some type of

2    fraud or trickery to use assets or money of his parents to purchase the $20 Million of creditor

3    claims against them.
4
            131.    The money that was used by Theodore to purchase the creditors’ claims remains
5
     a mystery because Theodore has used multiple strawmen so as not to have this scheme
6
     uncovered.
7
            132.    This entire scheme and acts of financial abuse was orchestrated and concealed by
8
     Theodore, all in breach of fiduciary duties to make full disclosure and act with the utmost
9
     honesty and integrity.
10

11          133.    The conduct of Theodore was done with the utmost dishonesty and lack of

12   integrity and so far he has gotten away with his bullying, intimidation, financial abuse and

13   breach of his fiduciary duties.

14          134.    Janice is informed and believes that Ultimate Action was used by Theodore, in
15
     breach of his fiduciary duties to both the Fox Family Trust and Bearbiz and all of the
16
     beneficiaries of both trusts to buy substantial creditor judgments, charging liens and other liens
17
     recorded and/or claimed against his father Gerson and mother Gertrude in a four step process.
18
            135.    First, Theodore used an intermediary to purchase the judgments, charging orders
19
     and liens that were asserted against Gerson and Gertrude. Second, Theodore purchased those
20
     judgments, charging orders and liens from the intermediary totaling in value in excess of $20
21

22   million, for a fraction of their face value. Third, Theodore, through his wholly owned company,

23   Ultimate Action, asserted these same claims, liens, charging orders and assignments of

24   judgments against his parents, Gerson and Gertrude at full value. Fourth, Theodore obtained

25   writs of executions, orders for appearance of judgment debtor against Gerson and Gertrude and
26
     an application for sale of dwelling against Gertrude and/or against her trust. All the while
27
     Theodore was in a fiduciary relationship with Gerson and Gertrude as he was a trustee and
28                                                 31
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 33 of 68 Page ID #:38


1    special trustee of the Fox Family Trust and the Bearbiz Irrevocable Trust as well as being the

2    major beneficiary of those two trusts.

3            136.    The transactions by which Ultimate Action purchased the creditor claims, first
4
     through an intermediary and then a purchase by Ultimate Action from the intermediary was
5
     concealed by Theodore from the time he conceived this ideal all the way to the present. It is still
6
     unknown the source of the money used by Ultimate Action to purchase several million dollars
7
     of assets.
8
             137.    On information and belief, the money most likely came, through some circuitous
9
     route from properties or assets once owned by Gerson or one of his many limited liability
10

11   companies and then routed to one of Theodore’s companies.

12           138.    Janice is informed and believes and based thereon alleges that on or about July

13   17, 2006 Gerson and Gertrude created a Special Trustee Agreement. This Special Trustee

14   Agreement was created through undue influence and coercion by Theodore for the
15
     compensation of Theodore at levels that are far beyond anything that would ever be considered
16
     reasonable so as to deliberately strip the Fox estate from Janice and partly from Barry, and to
17
     accelerate and advance the entire corpus of the estate directly to Theodore prior to the death of
18
     the settlors.
19
             139.    The Special Trustee Agreement recites that the effective date of the agreement is
20
     as of August 1, 2011 and shall continue in force for a period of 10 years and therefore by its
21

22   terms is still in force and effect. Thereafter, it recites that the agreement shall be renewed

23   automatically for successive terms of three years unless either party gives written notice to the

24   other party at least 90 days prior to the expiration of any term of such party’s intention to renew.

25           140.    The compensation structure to Theodore from the Special Trustee Agreement
26
     began at $75,000 per month as of August 11, 2011 and provides that Theodore’s compensation
27
     will increase every year by an additional $10,000 per month. Based on the formula the monthly
28                                                   32
                                              COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 34 of 68 Page ID #:39


1    compensation is currently $165,000 per month or $1,980,000 per year. The compensation

2    continues to either get paid or accrues for the entire 10 years plus renewals regardless of

3    whether there is any work activity required by the trust.
4
            141.    The Special Trustee Agreement further provides that “payments shall be made
5
     only to the extent that there is reasonably available cash from the Fox Properties’ operations as a
6
     whole… If cash is not available, such unpaid salary will accrue (without interest) until the Trust
7
     is able to make such payments to Special Trustee. Both the Trustees and that Special Trustee are
8
     mindful of the possibility that all or part of the compensation of the Special Trustee may not be
9
     paid, in whole or part, to the Special Trustee due to the problems with the Fox Properties. The
10

11   Special Trustee has agreed to accept that risk but the Trustees wanted to be clear the

12   compensation to be paid to the Special Trustee is to be paid before any distributions are made to

13   their heirs.” The agreement further provides that the Special Trustee shall be paid as additional

14   compensation $500,000 for past services provided.
15
            142.    The compensation to Theodore was a device created and structured by Theodore
16
     such that the accumulated compensation over the last 10 years would be used to diminish or in
17
     fact eliminate all assets of the Gerson and Gertrude estate so as to effectively wipe out any
18
     interest that Janice may have inherited as an heir to the Fox estate. The cumulative total either
19
     paid or accumulated for the benefit of Theodore over the last 10 years now stands at
20
     approximately $11,780,000.00. This compensation package was the product of undue influence
21

22   and coercion and is just one part of the massive financial abuse perpetrated by Theodore against

23   his elderly and ill parents as part of his elder abuse.

24          143.    Theodore and Barry owed Janice a fiduciary duty of honesty, full disclosure,

25   good faith and fair dealing. Theodore and Barry committed financial elder abuse when they
26
     knowingly and willfully breached that duty in order to take for themselves nearly the entire
27

28                                                 33
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 35 of 68 Page ID #:40


1    estate of their parents, while they were still alive and to also make certain that Janice would be

2    taken out of the estate as a beneficiary.

3              144.   In further breach of fiduciary duties owed by Theodore and Barry to Janice all of
4
     these underhanded and circuitous financial transactions were done in concealment and malice.
5
               145.   Further, Theodore and Barry took the estate assets through their outright
6
     financial abuse, fraud and/or breach of fiduciary duty without having to wait for a triggering
7
     event of death of their parents and also to assure that by the time of their death that even if
8
     Gerson and Gertrude wanted to revise their estate plan to include bequests to Janice, Kele,
9
     Alexander and Adam that there would be no assets left in the estate.
10

11             146.   Theodore’s conduct, in which, on information and belief, Barry participated,

12   constituted financial elder abuse in accordance with Welfare and Institutions Code § 15610.30(a).

13             147.   Theodore and Barry’s predatory practices unlawfully misappropriated Janice’s

14   property, constituted financial abuse and caused Gertrude and Gerson to suffer special and
15
     general damages, including substantial emotional distress and frustration pursuant to Civil Code
16
     § 3345.
17
               148.   As an elder, the above-described facts also entitle Janice to recover treble
18
     damages.
19
               149.   As a direct and proximate result of Theodore and Barry’s conduct, Janice has
20
     incurred and will continue to incur attorneys’ fees and related expenses in an amount to be
21

22   proven at trial. Janice therefore seeks all of those fees and costs pursuant to Welfare and

23   Institutions Code § 15657.5.

24             150.   Theodore and Barry planned and engaged in their pattern of financial elder

25   abuse with malice, oppression and fraud as those terms are defined by Civil Code § 3294,
26
     entitling Janice to an award of punitive damages.
27

28                                                  34
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 36 of 68 Page ID #:41


1                                       THIRD CAUSE OF ACTION

2                                    (BREACH OF FIDUCIARY DUTY)

3                                           [Janice against Theodore]

4            151.    Janice incorporates by reference paragraphs 1 through 150 and realleges same as
5
     if fully set forth herein.
6
             152.    At all times relevant herein, Theodore was Special Trustee of the Fox Family
7
     Trust as well as trustee of Bearbiz.
8
             153.    At all times relevant herein, it is alleged on information and belief that Janice,
9
     Kele, Alexander and Adam were beneficiaries of the Fox Family Trust and Bearbiz
10
             154.    The Special Trust Agreement of the Fox Family Trust provides that the “Trust
11

12   has a substantial portfolio of real estate and other investments, including, but not limited to,

13   real properties and real property only entities collectively referred to as the “Fox Properties.”

14           155.    Section “C” of the Trust recites that “Ted’s [Theodore] compliance with their

15   [trustees] wishes may potentially place him in a difficult position with respect to their other
16
     children and, accordingly, they wish to address those and other issues in this Agreement and
17
     their Trust.”
18
             156.    The Trust gives Theodore broad powers including leasing activities, rent
19
     collection, payment of expenses, hiring, directing and controlling agents, attorneys, accountants,
20
     employees or assistants as reasonably appropriate, commencing, directing, settling and
21
     resolving litigation, maintaining accurate books and records, ensuring that proper federal, state
22

23   and local tax returns, interaction with lenders and investors, and to locate and recover

24   properties that have been lost by the trustee.

25           157.    The compensation package provided for in the Special Trustee Agreement

26   generally provided for escalating monthly compensation which today stands at $165,000 per
27

28                                                  35
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 37 of 68 Page ID #:42


1    month or nearly $2 Million per year. In addition the Special Trustee Agreement provides for

2    additional compensation of 40% of profits of the Fox real estate portfolio.

3           158.    In addition to the monthly fees compensation was provided by the trust to
4
     Theodore to cover health care costs, including dental and vision coverage and a gym
5
     membership at Equinox, Sports Club, etc. gas and vehicle maintenance, meals, travel (including
6
     business class travel)
7
            159.    Further, the compensation package provides that if there is not sufficient money
8
     to pay this enormous compensation then Theodore will be paid before any distributions are
9
     made to the other heirs.
10

11          160.    The Special Trustee Agreement further provides that the “Trustees shall have the

12   option to pay any additional compensation due to Special Trustee [Theodore] by transferring to

13   Special Trustee a fractional or whole interest in any real property owning entity within the Fox

14   Properties; provided however, that of such interest shall be subject to the reasonable approval
15
     of the Special Trustee…”
16
            161.    Approximately two months after the Special Trustee Agreement became effective
17
     on November 28, 2011, an eighth amendment to the Fox Family Trust was executed whereby
18
     Theodore was given unilateral power to withdraw/borrow money from the Fox Family Trust
19
     for any trust purpose.
20
            162.    As Special Trustee, Theodore was a fiduciary with regard to the other
21

22   beneficiaries, including Janice. As a fiduciary, Theodore had a legal obligation to make full

23   disclosure regarding the assets he was managing on behalf of all of the beneficiaries. To this

24   date, Theodore has failed to render any type of accounting or any kind since he became Special

25   Trustee. Janice has not received a single statement or accounting from Theodore at any time.
26
            163.    Janice made inquiry of Theodore to render an accounting and status of the Fox
27
     Properties, but Theodore refused to provide any accounting. Instead, on information and belief,
28                                                 36
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 38 of 68 Page ID #:43


1    Theodore used this request as a vehicle to use undue influence against Gerson and Gertrude,

2    causing them to remove Janice as a beneficiary from their estate plan.

3           164.    Affixed to the Special Trustee Agreement was a list of properties held in the
4
     Trust, and this list of properties was initialed by Gerson, Gertrude and Theodore. To this date,
5
     Theodore has not furnished any information regarding the status of any of the properties for
6
     which he was appointed Special Trustee regarding income and expenses, whether the loans are
7
     current, whether any of the properties are in foreclosure, whether any of the properties have
8
     been refinanced, whether any of the properties have been sold.
9
            165.    Further, Theodore has made no disclosure concerning whether he has been paid
10

11   compensation pursuant to the agreement or for that matter whether the agreement is still in

12   force and effect and whether he is still managing the portfolio, if any. Theodore has also not

13   made disclosure as to whether he has been paid the compensation recited in the agreement or

14   whether that compensation was deferred or whether he has received a percentage of profits or
15
     whether he has received an interest in any of the properties of the Fox estate.
16
            166.    Theodore knew that as Special Trustee that he was in a fiduciary relationship
17
     with the beneficiaries of the Fox Family Trust. Theodore, was also concerned that he had
18
     violated fiduciary duties as Special Trustee. As a result of those concerns on August 28, 2011,
19
     Theodore sent an email to Gerson’s counsel preparing the power of attorney forms and the
20
     Special Trustee Agreement stating: “In conclusion… let’s make sure I’m protected as a fiduciary
21

22   anticipating a claim on my performance.”

23          167.    Janice is informed and believes that beginning in June 7, 2012 Ultimate Action

24   began acquiring judgments against Gerson despite Theodore owing fiduciary duties to Gerson,

25   Gertrude, Janice, Kele, Alexander and Adam pursuant to the Special Trustee Agreement and the
26
     power of attorney.
27

28                                                37
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 39 of 68 Page ID #:44


1             168.   On June 25, 2012, Ultimate Action and Gerson entered into a stipulated judgment

2    in Covina Palms action, the amount $18.5 million – over $7 million more the prospective

3    judgment in that action.
4
              169.   In total, Ultimate Action asserted secured claims against Gerson of $17,473,000.00.
5
     These claims were asserted, notwithstanding the fiduciary relationship, and it further impaired
6
     and effectively wiped out the interest of Janice, Kele, Alexander and Adam in the Fox Family
7
     Trust.
8
              170.   In further breach of his fiduciary duties, Janice is informed and believes that
9
     Theodore, acting through his entities Ultimate Action and TF Properties #2, acquired Gerson’s
10

11   interest in twenty-two of the entities itemized on the asset list attached to the Special Trustee

12   Agreement.

13            171.   Janice is currently unaware of the total amount of money and number of

14   properties that has been obtained by Theodore by and through enforcement and collection
15
     actions while acting under his entities Ultimate Action, TF Properties #2 and #3 and/or
16
     Supreme Studios.
17
              172.   Janice is informed and believes and based thereon alleges that Theodore’s
18
     acquisition of judgments and assertion of liens against Gerson, were in violation of the fiduciary
19
     duties Theodore owed to the beneficiaries, thus giving rise to damages for breach of fiduciary
20
     duty in an amount to be determined at trial.
21

22            173.   Theodore acted with malice, oppression and fraud as those terms are defined by

23   Civil Code § 3294, entitling Janice to an award of punitive damages.

24   ///

25   ///
26
     ///
27
     ///
28                                                 38
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 40 of 68 Page ID #:45


1                                      FOURTH CAUSE OF ACTION

2                                        (CONSTRUCTIVE TRUST)

3                                         [Janice Against Theodore]

4           174.    Janice hereby incorporates by reference paragraphs 1 through 173 and realleges
5
     these paragraphs as though set forth in full.
6
            175.    Janice is informed and believes and thereon alleges that Theodore misused his
7
     position as trustee of the Fox Family Trust and Bearbiz by acquiring assets and cash that
8
     belonged to the two trusts, without giving the beneficiaries of the trusts any accounting.
9
            176.    Janice contends that any property real or personal acquired by Theodore in
10
     breach of his fiduciary duties under the two trusts have imposed upon said property a
11

12   constructive trust in favor of Janice.

13                                      FIFTH CAUSE OF ACTION

14                                       (UNJUST ENRICHMENT)

15                                        [Janice Against Theodore]

16          177.    Janice hereby incorporates by reference paragraphs 1 through 176 and realleges
17
     these paragraphs as though set forth in full.
18
            178.    As a direct and proximate result of Theodore’s wrongful conduct as alleged
19
     herein Theodore has been unjustly enriched and Janice as been damaged in an amount
20
     according to proof at time of trial together with prejudgment interest thereon at the maximum
21
     rate provided by law.
22
                                        SIXTH CAUSE OF ACTION
23

24                   (INVALIDITY OF TRUST AMENDMENT – WILL CONTEST)

25                                  [Janice Against Theodore and Barry]

26          179.    Janice hereby incorporates by reference paragraphs 1 through 178 and realleges

27   these paragraphs as though set forth in full.

28                                                39
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 41 of 68 Page ID #:46


1            180.    In 2006 Gerson and Gertrude, as settlors created the Fox Family Trust, naming as

2    beneficiaries, their three children, Barry, Janice and Theodore each to receive one-third of the

3    estate with monetary bequests of $100,000 to each of their four grandchildren and smaller
4
     monetary bequests to other third parties.
5
             181.    The Fox Family Trust continued to name as beneficiaries Janice, Kele, Alexander,
6
     Adam and the others, intact through 2011 and maybe into part of 2012. The reason that a date
7
     cannot be pinpointed is that neither the settlors, nor Theodore as trustee has kept the
8
     beneficiaries informed.
9
             182.    After the death of Gertrude on December 25, 2020, Janice through her counsel
10

11   has made inquiries of Theodore, through his counsel for disclosure of the original trust

12   documents and all amendments and iterations. Those requests have been denied.

13           183.    On information and belief, Gerson and Gertrude amended their trust to remove

14   and eliminate any bequests to Janice, Kele, Alexander and Adam from the estate plan.
15
             184.    On information and belief the amendment removing these beneficiaries occurred
16
     after August 2011.
17
             185.    The amendment to the Fox Family Trust was the product of undue influence,
18
     slander, breach of fiduciary duties by Theodore; the unlawful taking of the majority of the estate
19
     by Theodore; the conflicts of interest of Theodore, the coercion, intimidation and bullying by
20
     Theodore. On information and belief, all of these actions by Theodore were done with the
21

22   direct participation by Barry.

23           186.    The actions of Theodore as set out throughout this Complaint, including his take

24   over of the estate, his outrageous compensation package as trustee, his wholesale violation of

25   his fiduciary duties of two different trusts, his failure to make any disclosure to the beneficiaries
26
     of the trusts, his treatment of trust assets as if they were all his to the exclusion of the
27
     beneficiaries, his control and/or direction to lawyers ostensibly representing Gerson, Gertrude
28                                                    40
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 42 of 68 Page ID #:47


1    and the trusts, his direct involvement in procuring the amendments removing Janice, Kele,

2    Alexander and Adam from the estate, with the direct participation by Barry, led to these heirs

3    being removed as beneficiaries.
4
             187.    The breaches of fiduciary duties and the fact that Theodore was directly involved
5
     in procuring and directing the trust lawyers, for his own benefit leads to a presumption of
6
     undue influence in making the amendments that removed Janice, Kele, Alexander and Adam as
7
     trust beneficiaries.
8
             188.    Janice is informed and believes and on that ground alleges that Theodore has
9
     wrongfully taken, secreted, misappropriated and/or retained real property and personal
10

11   property belonging to Gertrude and Gerson, which Theodore would not have obtained absent

12   his wrongful conduct.

13           189.    Theodore’s wrongful conduct caused Gertrude and Gerson to execute the

14   amendments which purport to distribute Gertrude’s estate in a manner that Gertrude would
15
     not have provided for absent Theodore’s wrongful conduct. In causing Gertrude to execute the
16
     amendments Theodore deprived Gertrude of the valuable right to distribute her estate in equal
17
     shares to her two children as she truly intended. In taking these actions, Theodore deprived
18
     Janice of an interest in the real property located at 337 S. Roxbury Dr., Beverly Hills, California
19
     90212 which Gertrude owned in its entirety, and the property at 15300 E Smoky Hill Rd, Aurora,
20
     Colorado 80015 which Gertrude owned through Shops at Shenandoah Shopping Center, LLC, a
21

22   limited liability company, and any other assets, real or personal that she owned at the time of

23   her death. Janice is entitled to restoration of her one-third interest in the estate of Gertrude, and

24   in the event that she prevails in her elder abuse claims as alleged herein, she is entitled to one

25   hundred percent of the estate, by virtue of the principle that because of the elder abuse,
26
     Theodore and Barry are regarded as though they predeceased Gertrude and are disinherited.
27
     Probate Code §259.
28                                                 41
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 43 of 68 Page ID #:48


1              190.   In taking the above wrongful actions, Theodore acted in bad faith.

2                                      SEVENTH CAUSE OF ACTION

3              (INTENTIONAL INTERFERENCE WITH EXPECTATION OF INHERITANCE)
4
                                     [Janice Against Theodore and Barry]
5
               191.   Janice hereby incorporates by reference paragraphs 1 through 190 and realleges
6
     these paragraphs as though set forth in full.
7
               192.   Janice is the daughter of Gerson.
8
               193.   Janice has enjoyed a close relationship with Gerson over many years.
9
               194.   In 2006, Gerson and Gertrude were settlors of the Fox Family Trust. On
10
     information and belief, that trust provided among other things that Janice was to receive one-
11

12   third of the trust assets upon the death of the settlors.

13             195.   Janice has a reasonable expectation to inherit a one-third portion of the estate of

14   Gerson because, on information and belief, the trust documents so provided from 2006 through

15   and including 2011 and she is the only daughter of Gerson.
16
               196.   Theodore knew of the inheritance for Janice and he deliberately devised and
17
     carried out a systematic plan of undue influence, slandering of Janice, stealing the trusts, and he
18
     intimidated and bullied his parents into eliminating Janice from the estate plan.
19
               197.   On information and belief, Janice alleges that through the deliberate acts of
20
     Theodore, including his outright breach of fiduciary duties as to the Fox Family Trust and
21
     Bearbiz, his raiding of the assets of both trusts, his slander of Janice, and his conduct as
22

23   described throughout this Complaint, he caused Gerson to change his estate plan and eliminate

24   his bequest to Janice.

25             198.   As a result of Theodore’s interference with expectation of inheritance Janice has

26   been damaged in that but for that interference she would have received one-third of Gerson’s
27
     estate.
28                                                  42
                                                 COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 44 of 68 Page ID #:49


1            199.       Janice’s one-third of her inheritance expectancy was further diminished by

2    Theodore’s usurpation of the trust assets by his conduct as described throughout this

3    Complaint.
4
             200.       The acts taken by Theodore were malicious and intentional and meant to harm
5
     Janice. Theodore and Barry also knew that Gerson was a senior, and Civil Code § 3345 is
6
     triggered, as are punitive damages under Civil Code § 3294.
7
                                         EIGHTH CAUSE OF ACTION
8
                                                (ACCOUNTING)
9
                                            [Janice Against Theodore]
10
             201.       Janice hereby incorporates by reference paragraphs 1 through 200 and realleges
11

12   these paragraphs as though set forth in full.

13           202.       In breach of his fiduciary duties owed to Janice vis-à-vis the Fox Family Trust

14   and Bearbiz, Theodore took money and assets that should have gone to Janice as a beneficiary

15   of these trusts.
16
             203.       Janice seeks an accounting of all monies that Theodore took or made unavailable
17
     to Janice from the trusts.
18
                                          NINTH CAUSE OF ACTION
19
                             (INVALIDITY OF SPECIAL TRUSTEE AGREEMENT)
20
                                            [Janice Against Theodore]
21
             204.       Janice, incorporates by reference paragraphs 1 through 203 and realleges these
22
     paragraphs as though set forth in full.
23

24           205.       The Special Trustee Agreement was the product of undue influence, slander,

25   breach of fiduciary duties by Theodore; the unlawful taking of the majority of the estate by

26   Theodore; the conflicts of interest of Theodore and the coercion, intimidation and bullying by

27   Theodore.
28                                                   43
                                                  COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 45 of 68 Page ID #:50


1            206.    The compensation package provided to Theodore was outrageous,

2    unconscionable, unreasonable and was a thinly disguised attempt by Theodore to strip the

3    substantial assets once owned by Gerson and Gertrude from their estate so that Theodore could
4
     accelerate his inheritance and wipe out all equity of his parents’ estate so that the estate would
5
     have no assets or income for Gerson and Gertrude making them dependent on Theodore for
6
     their needs, and to further to make certain that there would be no assets left for Janice to inherit.
7
             207.    Further, the Special Trustee Agreement was an integral part of Theodore’s
8
     scheme to have complete control of Gerson and Gertrude and was used as leverage by
9
     Theodore to coerce his parents into eliminating Janice, Kele, Alexander and Adam as
10

11   beneficiaries of their estate.

12           208.    The creation of the Special Trustee Agreement was the product of undue

13   influence as Theodore had direct involvement in procuring lawyers to draft the agreement.

14   Theodore also directly crafted the terms for his own benefit.
15
             209.    In taking the above wrongful actions, Theodore acted in bad faith.
16
                                       TENTH CAUSE OF ACTION
17
                           (INVALIDITY OF BEARBIZ IRREVOCABLE TRUST)
18
                                         [Janice Against Theodore]
19
             210.    Janice hereby incorporates by reference paragraphs 1 through 209 and realleges
20
     these paragraphs as though set forth in full.
21
             211.    The creation of Bearbiz is invalid for several reasons.
22

23           212.    First, it was the product of undue influence, slander, breach of fiduciary duties

24   by Theodore; the unlawful taking of the majority of the estate by Theodore; the conflicts of

25   interest of Theodore and the coercion, intimidation and bullying by Theodore.

26

27

28                                                 44
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 46 of 68 Page ID #:51


1            213.    Second, Janice is informed and believes and thereon alleges that Gerson received

2    no consideration from Bearbiz in exchange for his transfer of the Membership Interests to

3    Bearbiz estimated to be worth many millions of dollars.
4
             214.    Third, Janice is informed and believes and thereon alleges that Bearbiz was
5
     conceived of and created by Theodore as a device to siphon off the estate of Gertrude and
6
     Gerson to Theodore and a small portion, if any remaining, to Barry.
7
             215.    Fourth, the creation of Bearbiz was a thinly disguised attempt by Theodore to
8
     strip the substantial assets once owned by Gerson and Gertrude from their estate so that
9
     Theodore could accelerate his inheritance and wipe out all equity of his parents’ estate so that
10

11   the estate would have no assets or income for Gerson and Gertrude making them dependent on

12   Theodore for their needs, and to further to make certain that there would be no assets left for

13   Janice to inherit.

14           216.    In taking the above wrongful actions, Theodore acted in bad faith.
15
                                     ELEVENTH CAUSE OF ACTION
16
                                               (CIVIL RICO)
17
                                      [Janice Against All Defendants]
18
             217.    Janice hereby incorporates by reference paragraphs 1 through 216 and realleges
19
     these paragraphs as though set forth in full.
20
             218.    Defendants, and each of them, in taking the actions alleged herein, engaged in a
21
     pattern of racketeering activity, including without limitation by (a) investment of income
22

23   derived, directly or indirectly, from a pattern of racketeering activity or through collection of an

24   unlawful debt in which they have participated as principals, and/or the proceeds of that

25   income, in acquisition of an interest in or the establishment or operation of one or more

26   enterprises engaged in, or the activities of which affect interstate or foreign commerce, in
27
     violation of 18 U.S.C. §1962(a); (b) by acquiring or maintaining, directly or indirectly, through a
28                                                    45
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 47 of 68 Page ID #:52


1    pattern of racketeering activity or through collection of an unlawful debt, an interest in or

2    control of one or more enterprises engaged in, or the activities of which affect interstate or

3    foreign commerce, in violation of 18 U.S.C. §1962(b); (c) by conducting or participating in the
4
     conduct of an enterprise’s affairs through a pattern of racketeering activity or collection of
5
     unlawful debt , in violation of 18 U.S.C. §1962(c); and (d) by conspiring to violate 18 U.S.C.
6
     §1962(a), (b), and/or (c).
7
             219.        To accomplish the foregoing, Defendants, and each of them, committed a series
8
     of related predicate acts over a substantial period of time, and they continue to threaten to
9
     commit such acts. Such acts are and have at all times alleged herein been continuous and
10

11   interrelated, having similar goals, purposes, methods, and/or results.

12           220.        Defendants, and each of them, acted with the requisite culpable mens rea in that

13   they were aware that they actually committed the violations alleged herein and conspired to do

14   so, intentionally and with knowledge that their actions were wrongful and illegal.
15
             221.        Defendants, and each of them, worked together in furtherance of a common
16
     illegal interest.
17
             222.        On information and belief, Defendants, and each of them, committed predicate
18
     acts including without limitation mail and wire fraud, embezzlement, money laundering,
19
     extortion (including without limitation by threatening to withhold funds, care and necessities
20
     from Gerson and Gertrude) and bribery (including without limitation by offering to provide
21

22   funds, care and necessities to Gerson and Gertrude) in the furtherance of their illegal goals.

23           223.        Janice has been injured in her business or property (including concrete financial

24   losses) by reason of the violations of 18 U.S.C. §1962 by Defendants, and each of them, as herein

25   alleged. Her injuries have been proximately caused by said violations.
26
             224.        Janice is entitled pursuant to 18 U.S.C. §1964 to (a) an order requiring Defendants,
27
     and each of them, to divest themselves of any interest, direct or indirect, in the foregoing
28                                                  46
                                             COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 48 of 68 Page ID #:53


1    enterprises; (b) an order imposing reasonable restrictions on the future activities or investments

2    of Defendants, and each of them, including without limitation prohibiting them from engaging

3    in the same type of endeavor as the enterprises engaged in; (c) an order dissolving or
4
     reorganizing said enterprises; (d) threefold (treble) the damages that she has sustained; (e) costs
5
     of suit; and (f) reasonable attorneys’ fees.
6
                                      TWELFTH CAUSE OF ACTION
7
                                              (ACCOUNTING)
8
                                          [Janice Against Theodore]
9
            225.    Janice hereby incorporates by reference paragraphs 1 through 224 and realleges
10
     these paragraphs as though set forth in full.
11

12          226.    In breach of his fiduciary duties owed to Gertrude, Theodore took money and

13   assets from her.

14          227.    Janice is entitled to an accounting and seeks an accounting of all monies that

15   Theodore took from Gertrude.
16
                                    THIRTEENTH CAUSE OF ACTION
17
                                              (ACCOUNTING)
18
      [Janice Against Theodore, Bearbiz, Ultimate Action, Supreme Studios, TF Properties 2 and
19
                                  TF Properties 3 and Roes 1 through 100]
20
            228.    Janice hereby incorporates by reference paragraphs 1 through 227 and realleges
21
     these paragraphs as though set forth in full.
22
            229.    Janice is informed and believes and based thereon alleges that Theodore used his
23

24   entities, including without limitation Bearbiz, Ultimate Action, Supreme Studios, TF Properties

25   2 and TF Properties 3 and Roes 1 through 100, in his scheme to take money from his parents in

26   an unconscionable and outrageous way, including by using these entities to buy creditor

27   judgments, charging liens and other liens recorded and/or claimed against Gerson and/or
28                                                 47
                                                COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 49 of 68 Page ID #:54


1    Gertrude, and to conceal his own financial interest in and ownership and control over those

2    entities so that he could complete this financial elder abuse as alleged hereinabove.

3           230.    Janice is informed and believes and based thereon alleges that Theodore used his
4
     entities, including without limitation Bearbiz, Ultimate Action, Supreme Studios, TF Properties
5
     2 and TF Properties 3 and Roes 1 through 100 are and at all relevant times were alter egos of
6
     Theodore and mere instrumentalities used by Theodore to accomplish his unsavory purposes.
7
            231.    Janice is entitled to an accounting and seeks an accounting of of all monies
8
     received by or paid by Bearbiz, Ultimate Action, Supreme Studios, TF Properties 2 and TF
9
     Properties 3, including without limitation an accounting showing the origin and disposition of
10

11   the funds used by Defendants to buy creditor judgments, charging liens and other liens

12   recorded and/or claimed against Gerson and/or Gertrude.

13                                FOURTEENTH CAUSE OF ACTION

14                   (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
15                                      [Janice Against Theodore]
16
            232.    Janice hereby incorporates by reference paragraphs 1 through 227 and realleges
17
     these paragraphs as though set forth in full.
18

19
            233.    The actions of Theodore in preventing Janice or her children from being able to
20
     visit Gerson or Gertrude or to communicate with them, the concealment of Gertrude’s death
21
     from Janice, the prevention of Janice from attending or participating in the funeral and burial of
22

23   her mother, Gertrude, the threat to postpone the burial of Gertrude in violation of Jewish

24   religious law in order to prevent Janice and her family from attending, and the other outrageous

25   related actions of Theodore alleged hereinabove constituted extreme and outrageous conduct

26   with the intention of causing, or with reckless disregard of the probability of causing, emotional
27
     distress to Janice, and as a result of that outrageous conduct, Janice suffered severe and extreme
28                                                     48
                                                  COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 50 of 68 Page ID #:55


1    emotional distress, which was and is substantial and enduring. The proximate cause of the

2    severe and extreme emotional distress was the outrageous conduct of Theodore.

3           234.    The behavior of Theodore was outrageous because he abused a relation or
4
     position which gave him power to cause damage to Janice, he knew that Janice was susceptible
5
     to injuries through mental distress, because of the circumstances as alleged herein in which
6
     Janice had a close and loving relationship with her parents prior to Theodore’s malicious
7
     interference, and because of the predictable upset that Janice had when learning of her mother’s
8
     death and the fact that her brother Theodore had concealed it and the location and time of the
9
     funeral from her. Furthermore, Theodore acted intentionally and unreasonably with the
10

11   recognition that his acts were likely to result in illness through mental distress to Janice.

12   Moreover, Theodore’s conduct was extreme and outrageous because he knew that Janice was

13   peculiarly susceptible to emotional distress at the time, due to the foregoing circumstances,

14   which caused her to have physical and mental conditions and/or peculiarities that made her so
15
     susceptible.
16
            235.    Theodore engaged in the foregoing conduct with malice, oppression and fraud as
17
     those terms are defined by Civil Code § 3294, entitling Janice to an award of punitive damages.
18
                                                       PRAYER
19
            WHEREFORE, Janice prays that judgment be entered as follows:
20
        1. On the First Cause of Action, for general damages for pain and suffering pursuant to
21

22          Welfare and Institutions Code § 15657(b), for damages under Welfare and Institutions Code

23          § 15610.43 and an award of reasonable attorneys’ fees pursuant to Welfare and Institutions

24          Code § 15657(a), and for punitive or exemplary damages to punish and set an example

25          of Theodore and Barry;
26
        2. On the Second Cause of Action, for general damages for pain and suffering pursuant to
27
            Welfare and Institutions Code § 15657.5(b), for damages under Welfare and Institutions
28                                                   49
                                               COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 51 of 68 Page ID #:56


1        Code § 15610.43 and an award of reasonable attorneys’ fees pursuant to Welfare and

2        Institutions Code § 15657(a), and for punitive or exemplary damages to punish and set

3        an example of Theodore and Barry;
4
      3. On the Third Cause of Action, for damages in an amount to be determined at trial for
5
         Defendant Theodore Fox’s breaches of fiduciary duty, and for punitive or exemplary
6
         damages to punish and set an example of Theodore;
7
      4. On the Fourth Cause of Action, for imposition of a constructive trust in favor of Janice
8
         on any property real or personal acquired by Theodore in breach of his fiduciary duties
9
         under the two trusts and for a preliminary and permanent injunction prohibiting
10

11       Defendants, or any of them, from selling, conveying, encumbering or transferring any

12       interest in any of the real or personal property acquired by Theodore from Gerson or

13       Gertrude, including but not limited to the real property located at 337 Roxbury Dr. ,

14       Beverly Hills, California or the real property located at 15300 E Smoky Hill Rd, Aurora,
15
         Colorado 80015.
16
      5. On the Fifth Cause of Action, damages in an amount according to proof at time of trial
17
         together with prejudgment interest thereon at the maximum rate provided by law;
18
      6. On the Sixth Cause of Action, for declaratory relief finding the amendments to the Fox
19
         Family Trust removing and eliminating any bequests to Janice to be invalid, and for the
20
         restoration of Janice’s one-third interest in the estate of Gertrude, including but not
21

22       limited to the real property located at 337 Roxbury Dr., Beverly Hills, California and the

23       real property located at 15300 E Smoky Hill Rd, Aurora, Colorado 80015 and any other

24       real or personal property or assets in Gertrude’s estate at the time of her death or

25       thereafter, and, in the event that Defendants are found to be liable for elder abuse and
26
         therefore disinherited pursuant to Probate Code §259, for one hundred percent of the
27
         estate.
28                                             50
                                            COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 52 of 68 Page ID #:57


1     7. On the Seventh Cause of Action, for damages in the amount to be determined at trial

2        and for punitive or exemplary damages to punish and set an example of Theodore and

3        Barry;
4
      8. On the Eighth Cause of Action, an accounting of all monies that Theodore took or made
5
         unavailable to Janice from the trusts;
6
      9. On the Ninth Cause of Action, for declaratory relief finding the Special Trustee
7
         Agreement to be invalid;
8
      10. On the Tenth Cause of Action, for declaratory relief finding Bearbiz to be an invalid
9
         trust;
10

11    11. On the Eleventh Cause of Action, for (a) an order requiring Defendants, and each of

12       them, to divest themselves of any interest, direct or indirect, in the foregoing enterprises;

13       (b) an order imposing reasonable restrictions on the future activities or investments of

14       Defendants, and each of them, including without limitation prohibiting them from
15
         engaging in the same type of endeavor as the enterprises engaged in; (c) an order
16
         dissolving or reorganizing said enterprises; (d) threefold (treble) the damages that she
17
         has sustained; (e) costs of suit; and (f) reasonable attorneys’ fees.
18
      12. On the Twelfth Cause of Action, an accounting of all monies that Theodore took from
19
         Gertrude.
20
      13. On the Thirteenth Cause of Action, an accounting of all monies received by or paid by
21

22       Bearbiz, Ultimate Action, Supreme Studios, TF Properties 2 and TF Properties 3,

23       including without limitation an accounting showing the origin and disposition of the

24       funds used by Defendants to buy creditor judgments, charging liens and other liens

25       recorded and/or claimed against Gerson and/or Gertrude.
26

27

28                                             51
                                            COMPLAINT
 Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 53 of 68 Page ID #:58


1       14. On the Fourteenth Cause of Action, for damages in an amount to be determined at trial

2           for Defendant Theodore Fox’s intentional infliction of emotional distress, and for

3           punitive or exemplary damages to punish and set an example of Theodore
4
            On all Causes of Action, for such other and further relief as the Court may deem just and
5
     proper under the circumstances of this case.
6
     Dated: May 14, 2021                                 LAW OFFICES OF PHILIP KAUFLER
7

8
                                                         By: _______________________________
9
                                                                Philip Kaufler, Esq.
                                                                Attorneys for Plaintiff JANICE FOX
10

11
     Dated: May 14, 2021                                 STRECKER LAW OFFICES
12

13
                                                         By: _______________________________
14                                                              Marc S. Strecker, Esq.
                                                                Attorneys for Plaintiff JANICE FOX
15

16

17

18

19

20

21

22

23

24

25

26

27

28                                              52
                                             COMPLAINT
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 54 of 68 Page ID #:59




                     EXHIBIT A
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 55 of 68 Page ID #:60
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 56 of 68 Page ID #:61
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 57 of 68 Page ID #:62
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 58 of 68 Page ID #:63
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 59 of 68 Page ID #:64
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 60 of 68 Page ID #:65
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 61 of 68 Page ID #:66
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 62 of 68 Page ID #:67




                      EXHIBIT B
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 63 of 68 Page ID #:68
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 64 of 68 Page ID #:69
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 65 of 68 Page ID #:70
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 66 of 68 Page ID #:71




                       EXHIBIT C
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 67 of 68 Page ID #:72
Case 2:21-cv-06422-FLA-MAA Document 1-1 Filed 08/09/21 Page 68 of 68 Page ID #:73
